  Case 4:21-mj-07015-MKD             ECF No. 26       filed 01/21/21     PageID.66 Page 1 of 1

      United States District Court, Eastern District of Washington
                             Magistrate Judge Mary K. Dimke
                                         Richland

 USA v. ARTURO TEJEDA-GOMEZ                           Case No. 4:21-MJ-7015-MKD-1

                                  Richland Video Conference
                       The Defendant agreed to appear via video conference.

 Detention Hearing:                                                                      01/21/2021


 ☒ Sara Gore, Courtroom Deputy [R]                   ☒ Benjamin Seal, US Atty (video)
 ☐ Pam Howard, Courtroom Deputy [Y]                  ☒ Douglas McKinley, Defense Atty (video)
 ☒ Erica Helms, US Probation / Pretrial              ☒ Interpreter - NOT REQUIRED
   Services (tele)
 ☒ Defendant present ☒ in custody, appearing         ☒ Defendant’s wife Joanna Tejeda (tele)
   by video from the BCJ.


 ☒ Defendant continued detained                      ☐ Conditions of Release imposed
                                                     ☐ AO 199C Advice of Penalties/Sanctions

                                            REMARKS
        Due to the current COVID-19 public health crisis, all parties including Defendant, are appearing
by video or teleconference.
        USA proffered the pretrial services report and does concur with its recommendation of continued
detention of the Defendant.
        USA argued why the Court should detain the Defendant and why there are no conditions of
release which will reasonably assure Defendant’s appearance as required and/or the safety of the
community. USA argues defendant’s criminal history and seriousness of the defendant’s involvement of
the offense.
        Defense counsel argued why the Defendant should be released. Defense argues strong family ties,
employment, financial resources. Defense argues for conditions of release, with the defendant and his
wife willing to put up a property bond.
        Defense advises the Court that the defendant’s cousin and brother are not a refuge, they are both
on the run. The defendant has strong family ties here, in which would ensure his appearance at future
hearings.

        The Court ordered:
            1. USA’s Motion for Detention is granted.
            2. That there is no combination of conditions to assure the Defendant’s appearance as
               required or conditions to ensure that Defendant is not a danger to the community.
            3. Defendant shall be detained by the U.S. Marshal until further order of the Court.




Digital Recording/R-326              Time: 3:17 p.m. – 3:42 p.m.                                 Page 1
